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                                                        September 22, 2022


     VIA CM/ECF
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Vanaskie:

                Pursuant to the Court’s request during the September 8, 2022 hearing and its subsequent

     order (ECF 2157), please accept this letter on behalf of Plaintiffs in opposition to ZHP’s proposed

     redactions to Exhibit CC of ECF 1189.

                As the Court knows, this is ZHP’s third opportunity to justify the sealing of either the

     entirety of this document or certain portions of it. Each time is essentially a revised motion to seal,

     but ZHP only provided the requisite declaration in support of its first request to seal the entire

     document. Loc. R. 5.3(c)(3). It has never provided a more specific declaration in support of sealing

     certain portions of the document. This may have been oddly understandable given its initial

     position on “redactions,” where it asked for nearly the entire document to remain under seal.
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  However, after the Court asked Plaintiffs about the specific parts of the document that it thought

  could warrant sealing and Plaintiffs seemed to address the Court’s concerns, 1 ZHP now asks for

  significantly fewer redactions but also fails to justify them with the requisite specificity. (ECF

  1871, ¶ 15 (quoting In re Avandia Mktg., Sales Practices and Products Liab. Litig., 924 F.3d 662,

  672-73 (3d Cir. 2019)) (stating: “To overcome that strong presumption, the District Court must

  articulate the compelling, countervailing interests to be protected, make specific findings on the

  record concerning the effects of disclosure, and provide an opportunity for interested third parties

  to be heard. In delineating the injury to be prevented, specificity is essential. Broad allegations

  of harm, bereft of specific examples or articulated reasoning, are insufficient.              Careful

  factfinding and balancing of competing interests is required before the strong presumption of

  openness can be overcome by the secrecy interests of private litigants.”)); see also In re Caterpillar

  Inc., C13 and C15 Engine Prods. Liab. Litig., MDL No. 2540, 2015 WL 12830520, at *3 (D.N.J.

  Jan. 29, 2015) (denying motion to seal that was supported by an affidavit without personal

  knowledge) (ECF 1874-1); Schatz-Bernstein v. Keystone Food Prods., Inc., No. 08–3079–RMB–

  JS., 2009 WL 1044946, at *2 (D.N.J. Apr. 17, 2009) (same) (ECF 1874-2). These legal principles

  must be firmly applied.

         ZHP’s first declaration was “bereft of specific examples or articulated reasoning” justifying

  the sealing of this document in its entirety, (ECF 1873-3, p. 2-3), and ZHP has not even provided

  a legal brief explaining why its new redactions are proper. Avandia, 924 F.3d at 673. The Court

  should note that these requirements are not mere formalities, as ZHP bears the burden on its motion


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          ZHP does not seek to seal the parts of the document that the Court asked Plaintiffs about
  potentially keeping under seal. (9/18/2022 Tr. 16:13-17:3, 18:19-22 (stating, “I went through
  this,” and “[r]eally the only thing I came up with was the information starting at ZHP
  02324779 and going over to 4787,” so “I thought everything else could be produced”).
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  to seal, and Plaintiffs cannot reasonably be expected to respond to broad conclusory allegations,

  let alone the vacuum left by ZHP with respect to its updated redactions. (ZHP’s current proposed

  redactions are attached hereto as Ex. 1). As a result, Plaintiffs ask the Court to enter an order

  confirming that Ex. CC is unsealed in its entirety.

         Nevertheless, Plaintiffs will briefly explain why ZHP’s proposed redactions are not

  justified. To that end, it is important to remember that “the more rigorous common law right of

  access [applies] when discovery materials are filed as court documents. In addition to

  recognizing fewer reasons to justify the sealing of court records, the public right of access—

  unlike a Rule 26 inquiry—begins with a presumption in favor of public access.” Avandia,

  924 F.3d at 670 (emphasis added) (citing Goldstein v. Forbes (In re Cendant Corp.), 260 F.3d 183,

  192–93 (3d Cir. 2001)).

                 The common law right of access “antedates the Constitution.” Bank
                 of Am. Nat'l Tr. & Sav. Ass'n v. Hotel Rittenhouse Assocs., 800 F.2d
                 [339,] 343 [(3d Cir. 1986)]. The right of access “promotes public
                 confidence in the judicial system by enhancing testimonial
                 trustworthiness and the quality of justice dispensed by the
                 court.” Littlejohn v. BIC Corp., 851 F.2d 673, 678 (3d Cir. 1988).
                 Public observation facilitated by the right of access “diminishes
                 possibilities for injustice, incompetence, perjury, and fraud.” Id.
                 Moreover, “the very openness of the process should provide the
                 public with a more complete understanding of the judicial system
                 and a better perception of its fairness.” Id.

                                                * * *

                 [T]he public's right of access must be the starting point, not just
                 one of multiple factors. The scale is tipped at the outset in favor of
                 access. And the right of access is not a mere formality—it
                 “promotes public confidence in the judicial system”; “diminishes
                 possibilities for injustice, incompetence, perjury, and fraud”; and
                 “provide[s] the public with a more complete understanding of the
                 judicial system and a better perception of its fairness.” Littlejohn,
                 851 F.2d at 678. These interests are particularly important in a
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                 case such as this one, which implicates the public's trust in a
                 well-known and (formerly) widely-used drug.


  Avandia, 924 F.3d at 672, 677 (emphasis added). Importantly, the Third Circuit has “repeatedly

  said that concern about a company's public image, embarrassment, or reputational injury,

  without more, is insufficient to rebut the presumption of public access.” Id. at 676 (emphasis

  added) (collecting cases).

         On remand from the Third Circuit in Avandia, the trial court unsealed “55

  documents—including clinical studies, GSK submissions to the FDA, internal GSK emails

  and letters, records of teleconferences between GSK and the FDA, Avandia presentations

  and plans, and some court filings in the MDL,” with the exception of “certain personal

  information that Plaintiffs do not object to redacting.” In re Avandia Mktg, Sales Practices and

  Prods. Liab. Litig., 484 F. Supp. 3d 249, 264-68 (E.D. Pa. 2020) (emphasis added). The court

  summarized its decision in the following manner:

                 Justice Brandeis famously declared that “sunlight is the most
                 powerful of all disinfectants.” Considering the common law
                 presumption of public access, the lack of harm GSK will face,
                 the significance of this litigation, and the number of people
                 affected, light must shine on these documents. Therefore, for the
                 reasons stated above, GSK's Motion for the Continued Sealing of
                 Certain Documents will be granted only as to the redaction of
                 personal information of study subjects and employee telephone
                 numbers, addresses, and the ending of email addresses and
                 otherwise denied, and GSK's Motion for the Continued Sealing of
                 the Expert Reports of Donald Austin, Eliot Brinton, and Brian
                 Swirsky will be denied.

  Id. at 268 (emphasis added).

         Third Circuit precedent requires the denial of ZHP’s request for redactions to ECF 1189,

  Ex. CC. ZHP asks for the Court to redact the names of inspectors and other government officials
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  on ZHP02324736, but ZHP’s sole declaration does not support such redactions, even accepting its

  broad and conclusory allegations of “competitive harm.” (EFC 1873-3, p. 2-3). As government

  officials, these people are publicly known as working in these roles for the entities in question.

  See, e.g., https://www.pharmtech.com/authors/cristina-baccarelli?page=NaN (stating, “Cristina

  Baccarelli is a GMP inspector of the Italian Medicines Agency”). Given the public right of access,

  the Court should unseal this information. Avandia, 924 F.3d at 670, 672, 677.

         ZHP’s next set of redactions concerns the development, quality control, and discovery of

  NDMA in its valsartan manufacturing processes. Crucially, “concern about a company's public

  image, embarrassment, or reputational injury, without more, is insufficient to rebut the

  presumption of public access.” Avandia, 924 F.3d at 676 (emphasis added) (collecting cases).

  On ZHP02324741, ZHP seeks to conceal deficiencies in its risk assessment of the NDMA

  contamination after its “discovery” in mid-2018. This wrongdoing is not proprietary, as these

  defects are identified by the EMA, and the observations concern the use of widely use materials in

  the manufacture of valsartan. See Baertschi & Olsen, Mutagenic Impurities, 12.8 Case study 3—

  N-Nitrosamines in sartans, in Specification of Drug Substances and Products (2d Ed. 2020)

  https://www.sciencedirect.com/topics/chemistry/valsartan     (stating,   “In    a   similar   way,

  triethylamine, which has been used in some valsartan manufacturing processes, can also degrade

  to form diethylamine, which can be N-nitrosylated to form NDEA”). Defendants have even

  publicly filed Plaintiffs’ expert Dr. Stephen S. Hecht’s entire report, discussing how one of ZHP’s

  valsartan manufacturing processes created NDEA due to its use of triethylamine with sodium

  nitrite quenching. (ECF 1714-3, p. 21). The Court should therefore deny ZHP’s requested

  redactions on ZHP02324741.
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         On ZHP02324742, ZHP asks the Court to keep a list of its customers sealed. Not

  surprisingly, as in the United States, when ZHP had to recall its contaminated valsartan, its

  customers in Europe had to do the same, and those recall lists are obviously public. See Recall of

  drugs containing the active ingredient valsartan from the Chinese manufacturer Zhejiang Huahai

  Pharmaceutical     (May    7,   2018),    https://www.basg.gv.at/en/market-surveillance/official-

  announcements/detail/recall-of-drugs-containing-the-active-ingredient-valsartan-from-the-

  chinese-manufacturer-zhejiang-huahai-pharmaceutical (listing G.L. Pharma and Genericon

  Pharma as recalling valsartan containing ZHP API). The public also has a heightened interest in

  which companies purchased ZHP’s contaminated ZHP (even in the United States, many people

  either travel to Europe or live there temporarily while maintaining their citizenship). The Court

  should therefore deny ZHP’s motion to seal this information.

         ZHP also asks the Court to seal the conversion rate of the TEA manufacturing process and

  some of the chemicals use in ZnCl2 manufacturing process, both of which contaminated ZHP’s

  valsartan API with nitrosamines. (See ZHP02324743). It is public information that ZHP

  implemented the TEA manufacturing process due to its “low conversion rate” in comparison to

  the ZnCl2 process. In Jun Du’s words, “the cost reduction was so significant it is what made it

  possible for the firm to dominate the world market share.” (ECF 1907-1, p. 25). The public has a

  heightened interest in understanding what ZHP considered a sufficiently “low conversion rate” to

  justify developing the alternative manufacturing process that would result in the NDMA levels in

  all of its finished dose valsartan. Moreover, it is public knowledge that ZnCl2 process used ZnCl2

  and DMF. See ZHP’s Patent for Improved Method For Preparing Tetrazole For Valsartan (2014)

  (acknowledging its use of dimethylformamide (DMF) and sodium nitrite quenching in its
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  manufacture of valsartan), https://patents.google.com/patent/CN104045602A/en. The Court

  should therefore deny ZHP’s request to redact this information.

         On the next four pages (ZHP02324744-47), ZHP seeks to redact the name of the company

  that “discovered” NDMA in its valsartan, the lab that company hired to confirm its presence, and

  the name of a customer that submitted complaints regarding unknown peaks in its valsartan as

  early as 2014. ZHP cannot claim that what other companies independently did to discover the

  nitrosamine contamination is somehow so proprietary to ZHP that ZHP would be harmed by

  disclosure. Again, Dr. Hecht’s report, filed on the public docket by Defendants, states that Novartis

  discovered the contamination and contracted a lab to further confirm it was NDMA. (ECF 1714-

  3, p. 20). ZHP’s declaration supporting the sealing of this document does not explain how the

  identity of the lab Novartis hired to confirm ZHP’s valsartan was contaminated with NDMA would

  cause it any type of harm, and Plaintiffs are unable to contemplate such a harm to attempt to refute.

  If anything, the disclosure of this fact would help that lab’s business, as it is clearly capable of

  adequately analyzing drugs for genotoxic contaminants such as NDMA. The same argument

  applies to the other customer discussed on ZHP02324745-46, where that customer complained

  about unknown peaks as early October 2014. The Court should decline to seal this information.

         From ZHP02324748 to -48, ZHP then repeats its request to redact publicly available

  information concerning its defective and defunct manufacturing processes for valsartan. (See, e.g.,

  ECF 1714-3, p. 6, 20-23 (stating, “The nitrosation of secondary amines occurs so easily that it

  was once widely used in qualitative organic analysis as a test for the presence of a secondary

  amine, but after the discovery of nitrosamine carcinogenesis, this was eventually

  discontinued”)). ZHP’s declaration does not explain how redacting this information is necessary

  to protect it from anything besides the reputational harm of the public knowing how its valsartan
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  supply became needlessly contaminated with a carcinogen. That is not a basis for sealing this

  information. Avandia, 924 F.3d at 670, 672, 677. The Court should deny ZHP’s request to do so.

          ZHP asks the Court to redact a general description of its updated valsartan manufacturing

  process on ZHP02324750, but that process is patented and that patent states, “The inventors of the

  present application have further researched the synthesis process of valsartan and found that,

  before quenching the azide, the valsartan methyl ester intermediate is separated, which can

  avoid the high Possibility that impurities such as toxic N-nitrosodimethylamine (NDMA),

  valsartan impurity K and valsartan N-chloride are brought into the valsartan bulk drug; further, by

  optimizing other operating conditions, For example, controlling the water content in the solvent,

  the crystallization temperature, etc. during crystallization, to prepare a high-purity (without the

  above-mentioned impurities) valsartan product; the present invention is completed based on the

  above-mentioned findings.” WO2020010643 - METHOD FOR SYNTHESIZING VALSARTAN,

  https://patentscope.wipo.int/search/en/detail.jsf?docId=WO2020010643 (A Google translation of

  the full text is attached hereto as Ex. 2, with the multilingual abstract attached as Ex. 3). 2 A cursory

  review of this incredibly detailed public patent shows that there is no need for the redaction

  of the terms ZHP seeks to keep under seal.

          ZHP also asks the Court to redact details concerning the potential contamination of its

  losartan and irbesartan on ZHP02324750. Importantly, it is public knowledge that ZHP’s losartan

  and irbesartan were contaminated with NDEA. See FDA’s Recall Announcement Regarding


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          Notably, ZHP’s abstract contains its own English translation and states “The
  synthesization method provided in the present invention can avoid from the process source
  the possibility that highly toxic impurities such as N-nitrosodimethylamine (NDMA), a
  valsartan impurity K, and valsartan N-chloride generated in the azide quenching process are
  introduced into the valsartan methyl ester intermediate, and are further introduced into the
  valsartan active ingredient, thereby ensuring the valsartan medication safety.” Id. (Ex. 3).
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  ZHP’s Losartan, https://tinyurl.com/jbpwxrk; FDA’s Recall Announcement Regarding ZHP’s

  Irbesartan, https://tinyurl.com/3eanb2sf. Moreover, the public has a heightened interest in

  understanding the cause of this contamination, especially in light of its prior inadequate risk

  assessments. As ZHP’s July 27, 2017 email—which ZHP always proclaims is really about

  irbesartan—states, “This is a common problem in the production and synthesis of sartan APIs.”

  (Ex. 4 hereto). And Dr. Hecht’s report clearly explains how “NDEA form[ed] when 3 factors were

  present: 1) trimethylamine used as a catalyst for tetrazole formation; 2) nitrite used for

  decomposition of excess sodium azide; and 3) both factors 1 and 2 are together with the crude

  product.” (ECF 1714-3, p. 21). The previously quoted article also states:

                 The nitrosamine impurities were formed during synthesis of the
                 drug substance when the synthetic route was changed and a reactive
                 reagent used in the formation of the tetrazole moiety (sodium azide)
                 was removed using sodium nitrite during the work-up; under acidic
                 conditions nitrite can form nitrous acid, a strong nitrosylating
                 reagent. Apparently, impurities in the solvent DMF (dimethylamine
                 and diethylamine) were N-nitrosylated during the work-up, resulting
                 in the formation of NDMA, which was not seen in the innovator
                 product. In a similar way, triethylamine, which has been used in
                 some valsartan manufacturing processes, can also degrade to form
                 diethylamine, which can be N-nitrosylated to form NDEA. N-
                 nitroso compounds belong to the “cohort of concern” because
                 they can display extremely high carcinogenic potency.

  Baertschi & Olsen, Mutagenic Impurities, 12.8 Case study 3—N-Nitrosamines in sartans, in

  Specification of Drug Substances and Products (2d Ed. 2020) (emphasis added),

  https://www.sciencedirect.com/topics/chemistry/valsartan. The Court should deny ZHP’s request

  to seal similar information regarding ZHP’s losartan and irbesartan.

         On ZHP02324751 to -53, ZHP again asks the Court to redact the basic ideas found in the

  public patent for its updated valsartan manufacturing process. See WO2020010643,

  https://patentscope.wipo.int/search/en/detail.jsf?docId=WO2020010643 (stating, “The inventors
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  of the present application have further researched the synthesis process of valsartan and found that,

  before quenching the azide, the valsartan methyl ester intermediate is separated, which can

  avoid the high Possibility that impurities such as toxic N-nitrosodimethylamine (NDMA),

  valsartan impurity K and valsartan N-chloride are brought into the valsartan bulk drug; further, by

  optimizing other operating conditions, For example, controlling the water content in the solvent,

  the crystallization temperature, etc. during crystallization, to prepare a high-purity (without the

  above-mentioned impurities) valsartan product; the present invention is completed based on the

  above-mentioned findings”) (Exs. 2 and 3 hereto). On the bottom of ZHP02324753, ZHP seeks to

  redact the limit for NDMA, which is obviously public in both the United States and European

  Union. See FDA, Control of Nitrosamine Impurities in Human Drugs: Guidance for Industry, p.

  10 (Feb. 2021), https://www.fda.gov/media/141720/download (limiting NDMA to 96 ng or 0.3

  ppm); EMA, Nitrosamine impurities in human medicinal products, p. 78 (June 25, 2020) (limiting

  NDMA to 96 ng or 0.3 ppm), https://www.ema.europa.eu/en/documents/referral/nitrosamines-

  emea-h-a53-1490-assessment-report_en.pdf. ZHP’s declaration does not support the remaining

  redactions with the requisite specificity, especially in light of the detailed information contained

  in its public patent and the public’s right to access this information. See Avandia, 924 F.3d at 670,

  672, 677. The Court should not redact this information from the report.

         From ZHP02324756 to -64, ZHP seeks to redact the EMA’s critiques of its improper SOPs

  and testing methods, as well as other violations of current good manufacturing processes (cGMP).

  The public has a heightened interest in ZHP’s cGMP violations, and the FDA has published the

  proper way to test drugs like valsartan, losartan, and irbesartan for nitrosamine impurities. FDA,

  Liquid Chromatography-High Resolution Mass Spectrometry (LC-HRMS) Method for the

  Determination    of   Six   Nitrosamine     Impurities   in   ARB     Drugs    (May     21,   2019),
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  https://www.fda.gov/media/125478/download; see also ECF 1714-3, p. 21 (discussing “In the

  specific investigation here, a peak eluting after the solvent toluene was ultimately definitively

  identified by an outside laboratory, using combined gas chromatography-mass spectrometry (GC-

  MS), as NDMA”). Furthermore, a “concern about a company's public image, embarrassment,

  or reputational injury, without more, is insufficient to rebut the presumption of public

  access.” Avandia, 924 F.3d at 676 (emphasis added) (collecting cases). The Court should deny

  ZHP’s request to redact this information.

         ZHP’s final set of designations from ZHP02324770 to -77 overlap with its earlier requests

  in part and are unjustified for the reasons already explained. Plaintiffs note that these pages contain

  a summary of the EMA’s nine major deficiencies and eight “other” deficiencies. The public has a

  heightened interest in this summary information. ZHP’s declaration in support of sealing it is

  “bereft of [the requisite] specific examples or articulated reasoning,” and shielding ZHP from

  reputational harm does not justify ZHP’s request. Avandia, 924 F.3d at 673, 676. There is no

  articulated declaration as to how harm is likely to occur once unsealed. The Court should

  consequently decline to order these redactions.

         In sum, ZHP has not provided the Court with a declaration based on personal knowledge

  with enough specificity to justify its requested redactions, let alone overcome the public’s right to

  access court records “in a case such as this one, which implicates the public's trust in a well-

  known and (formerly) widely-used drug.” Avandia, 924 F.3d at 672, 677 (emphasis added).

  ZHP’s “concern about [its] public image, embarrassment, or reputational injury, without

  more, is insufficient to rebut the presumption of public access.” Id. at 676 (emphasis added)

  (collecting cases). And nearly all of the redactions concern public information or commonsense
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  inferences from such information. Therefore, the Court should unseal Exhibit CC to ECF 1189 in

  its entirety.

           Thank you for your courtesies and consideration.

                                        Respectfully,



                                        ADAM M. SLATER

  Encls.

  cc:      All Counsel (via CM/ECF)
